            Case 2:23-cv-01369-TJS Document 71 Filed 01/08/24 Page 1 of 3




                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA



BURGESS                                                    :        CIVIL ACTION
                                                           :
                  v.                                       :
                                                           :
CENTRAL BUCKS SCHOOL DIST.                                 :        NO.23-1369
                                                           :
                                                           :

                                                      ORDER

A Settlement Conference in the above-captioned case will be held on March 5, 2024 at
10:00am before the Honorable Scott W. Reid, United States Magistrate Judge, in Courtroom 3c,
U.S. Courthouse, 601 Market Street, Philadelphia, PA 19106.

Counsel are directed to have clients with ultimate authority to settle physically PRESENT
in the courtroom for the duration of this conference.1

Counsel are further directed to complete the enclosed Settlement Conference Summary to be e-
mailed to Chambers using Ian_Broderick@paed.uscourts.gov on or before February 27, 2024.

The Settlement Conference Summary comes as an attachment to this Order for ECF subscribers.
Judge Reid requires attorneys to register for WiFi prior to coming to the Courthouse.


                                                                    BY THE COURT:



                                                                    S/Scott W. Reid__________
                                                                    HON. SCOTT W. REID
                                                                    267-299-7640/267-299-5075 Fax
                                                                    Ian_Broderick@paed.uscourts.gov

Date:1/8/24


1 Parties include all persons, corporations or other business entities, and insurance companies with an interest in the
case, and each entity with an interest in the case must attend the conference. In the case of corporate or other
business entities, the corporate official with ultimate settlement authority is required to attend. Where an insurance
company is involved, a representative with ultimate settlement authority is also required to attend .
           Case 2:23-cv-01369-TJS Document 71 Filed 01/08/24 Page 2 of 3




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                           :     CIVIL ACTION
                                           :
              v.                           :
                                           :
                                           :     No.


                      SETTLEMENT CONFERENCE SUMMARY

COUNSEL ATTENDING SETTLEMENT CONFERENCE:

Name:

Address:

Phone:

Client:

CLIENT ATTENDING SETTLEMENT CONFERENCE:

Name of Individual with Ultimate Settlement Authority
who will be present at the settlement conference:

MOTIONS PENDING:




STATUS OF DISCOVERY:




OTHER RELEVANT MATTERS:
      Case 2:23-cv-01369-TJS Document 71 Filed 01/08/24 Page 3 of 3




PRIOR OFFERS/DEMANDS:




                    ATTACH SYNOPSIS OF CASE

IDENTIFY: 1) CAUSES OF ACTION 2) PROOFS OF SAME, AND 3)
ITEMIZATION AND PROOF OF DAMAGES CLAIMED. COUNSEL
SHOULD ALSO INCLUDE ANY OTHER INFORMATION THAT WOULD
BE HELPFUL TO THE COURT IN EVALUATING THIS MATTER.
